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 1   KEKER, VAN NEST & PETERS LLP                    DAVID H. KRAMER, SBN 168452
     ROBERT A. VAN NEST - # 84065                    LAUREN GALLO WHITE, SBN 309075
 2   rvannest@keker.com                              QIFAN HUANG, SBN 339672
     DAN JACKSON - # 216091
 3   djackson@keker.com                              WILSON SONSINI GOODRICH & ROSATI
     JULIA L. ALLEN - # 286097                       Professional Corporation
 4   jallen@keker.com                                650 Page Mill Road
     TRAVIS SILVA - # 295856                         Palo Alto, CA 94304-1050
 5   tsilva@keker.com                                Telephone: (650) 493-9300
     ANNA PORTO - # 319903                           Facsimile: (650) 565-5100
 6   aporto@keker.com                                Email: dkramer@wsgr.com
     LUKE APFELD - # 327029
 7   lapfeld@keker.com                                       lwhite@wsgr.com
     AMOS J. B. ESPELAND - # 332895                          qhuang@wsgr.com
 8   aespeland@keker.com
     633 Battery Street
 9   San Francisco, CA 94111-1809
     Telephone:     415 391 5400
10   Facsimile:     415 397 7188

11   Attorneys for Defendants and Counterclaimants
     YOUTUBE, LLC and GOOGLE LLC
12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14
                                       SAN FRANCISCO DIVISION
15
     MARIA SCHNEIDER, UNIGLOBE                        Case No. 3:20-cv-04423-JD
16   ENTERTAINMENT, LLC, and AST
     PUBLISHING, LTD., individually and on            DECLARATION OF LAUREN GALLO
17   behalf of all others similarly situated,         WHITE IN SUPPORT OF DEFENDANTS’
                                                      SUPPLEMENT TO MOTION IN LIMINE
18                 Plaintiffs,                        NO. 8
19          v.
20   YOUTUBE, LLC and GOOGLE LLC,

21                 Defendants.

22
     YOUTUBE, LLC and GOOGLE LLC,
23                 Counterclaimants,
24          v.
25   PIRATE MONITOR LTD., PIRATE
     MONITOR LLC, and GÁBOR CSUPÓ,
26
                   Counterclaim Defendants.
27

28


                                 WHITE DECL ISO DEFENDANTS’ SUPPLEMENT
                                          Case No. 3:20-cv-04423-JD
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 1           I, Lauren Gallo White, declares as follows:

 2           1.     I am an attorney at Wilson, Sonsini, Goodrich & Rosati, P.C., counsel to

 3   Defendants and Counterclaimants YouTube, LLC and Google LLC (together, “YouTube”). I am

 4   over the age of 18 and am competent to make this declaration. I make each of the following

 5   statements based on my personal knowledge and could, if necessary, testify to the truth of each of

 6   them.

 7           2.     YouTube served a document subpoena to A Side Music, LLC d.b.a. Modern

 8   Works Publishing (“MWP”) on October 26, 2020, demanding MWP to produce “[a]ll agreements

 9   between Modern Works and Schneider or between Modern Works and ArtistShare,” to which

10   MWP refused. Attached as Exhibit 1 is a true and correct copy of MWP’s responses and

11   objections to YouTube’s subpoena, dated November 18, 2020.

12           3.     After YouTube pointed out that “[a]greements between Modern Works and

13   ArtistShare are directly relevant to the claims and defenses in this case because Schneider claims

14   she is represented by ArtistShare in connection with her copyrighted works,” and meeting and

15   conferring, MWP agreed to produce “agreements in its possession between itself and ArtistShare

16   Music Publishing, LLC and/or ArtistShare, Inc.” Attached as Exhibit 2 is a true and correct copy

17   of a letter from my colleague, Maura L. Rees, to MWP’s counsel, dated December 3, 2020.

18   Attached as Exhibit 3 is a true and correct copy of a response letter from MWP’s counsel, dated

19   December 14, 2020.

20           4.     Despite promising to do so, MWP never produced any agreements between itself

21   and ArtistShare Music Publishing LLC (“AMP”).

22           5.     YouTube also served document requests to Schneider in October 2020, asking for

23   the production of all agreements that have “granted” or “authorized any other person or entity to

24   grant” licenses to Schneiders’ Works-in-Suit, and all documents “relating to Modern Works

25   Publishing” and “relating to ArtistShare.” Schneider never produced any agreements between

26   MWP and AMP. Attached as Exhibit 4 is a true and correct excerpt of Schneider’s responses and

27   objections to YouTube’s relevant document requests.

28

                                                    1
                               WHITE DECL ISO DEFENDANTS’ SUPPLEMENT
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 1           6.          On January 5, 2023, this Court issued an order granting in part and denying in part

 2   YouTube’s Motion for Summary Judgment as to Maria Schneider. See Dkt. 222. The Court

 3   recognized that “the only evidence of the assignment [of Schneider’s rights] from AMP to MWP

 4   is the declaration of Dan Coleman, the co-founder and president of MWP.” Dkt. 222 at 6.

 5           7.          On May 30, 2023, Coleman called me over the phone and informed me that he had

 6   found a document indicating that MWP administers musical compositions on behalf of AMP. He

 7   subsequently sent an email to me containing the document in question. Attached as Exhibit 5 is a

 8   true and correct copy of Coleman’s email attaching a signed memorandum, dated November

 9   2007, stating that AMP “grants [MWP] the right to issue nonexclusive licenses throughout the

10   World . . . for all underlying musical compositions administered by [AMP] . . . in any and all

11   media now known or hereafter devised.”

12           8.          This memorandum further supports Coleman’s declaration stating that “AMP

13   assigned all its duties under the Administration Agreement to [MWP].” Dkt. 164-6.

14           9.          On the same day it received the memorandum from Coleman, YouTube produced

15   it to plaintiffs.

16

17           I declare under penalty of perjury under the laws of the United States that the foregoing is

18   true and correct. Executed June 1, 2023 in San Francisco, California.

19
20                                                               /s/ Lauren Gallo White
                                                                 Lauren Gallo White
21

22                                        ATTORNEY ATTESTATION
23           I, Robert A. Van Nest, am the ECF User whose ID and password are being used to file
24   this document. In compliance with N.D. Cal. Civil L.R. 5-1(h)(3), I hereby attest that the
25   concurrence in the filing of this document has been obtained from the signatory.
26                                                            /s/ Robert A. Van Nest
                                                              Robert A. Van Nest
27

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                                                         2
                                    WHITE DECL ISO DEFENDANTS’ SUPPLEMENT
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